                   Case 3:18-cr-00038-VAB Document 23 Filed 08/29/18 Page 1 of 1


AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District of Connecticut



                  United States of America                     )
                             Plaintiff                         )
                                v.                             )      Case No. 3:18-cr-0038 (VAB)
                       George Garofano                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          George Garofano


Date:          08/29/2018


                                                                                  Matthew D. Popilowski ct28869
                                                                                      Printed name and bar number
                                                                                Lynch, Traub, Keefe & Errante, P.C.
                                                                                        52 Trumbull Street
                                                                                      New Haven, CT 06510

                                                                                               Address

                                                                                       MPopilowski@ltke.com
                                                                                            E-mail address

                                                                                           (203) 787-0275
                                                                                           Telephone number

                                                                                           (203) 777-5827
                                                                                             FAX number
